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Novernber 2, 2017

Served via ECF

Honorable Carol Bagley Arnon

U.S. District Court, Eastern District ot`New York
225 Cadrnan Piaza East

Brooklyn, New York 11201

RE: Allstate Insurance Con'iparrv, et ai. v. Elite Medical Supplv ofNew York_ LLC, et al.
11 l7-cv-443(CBA)(JO)

Dear Judge Amon:

We are the attorneys for Plaintiffs Allstate Insurance Cornpany, Ailstate lndernnity Cornpany,
Ailstate Property and Casuaity insurance Company, and Ailstate Fire & Casualty lnsurance
Conipany (coiiectively, “Alistate” or “Plaintiffs”) in the above-referenced matter. We make this
application jointly with counsel for all of the Defendants.

The parties request an extension of the current briefing schedule to ailow the parties to continue
to work with their respective counterparts to narrow and potentially resolve certain issues and to
ultimately assist the Court. The parties have made one prior request to extend the briefing
schedule, which Was granted (Docl<et No. 55). At present, Piaintiffs’ Arnended Cornplaint is due
Novernber 5, 2017, with the deadline for Defendants to renew their Motions to Disnriss set for
December 6, 2017; the deadlines for Plaintiffs’ opposition to the renewed Motions to Dismiss
and Defendants’ reply papers were not set in the previous order. We respectfuily request that the
deadline to serve Plaintit`fs’ Amended Complaint be extended to December 4, 2017, with the
deadline for Defendants’ renewed Motions to Disn'riss extended to .ianuary 22, 2018, the
deadline for Plaintiffs’ opposition set for l.\/larch 12, 2018, the deadline for Defendants’ reply
papers set for April 16, 2018, and oral arguments set at a date convenient to the court. Afl parties
agree to this proposed briefing scheduie, subject to the Court’s approval We thank you for your

consideration of this matter.

Respectfully submitted,

Wrg n, Esq. (JF 2296)

cc: Alf parties of record (via ECF)

